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19                         THE UNITED STATES DISTRICT COURT

20             NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION

21   GABRIELLE GANGITANO, an              )   Case No. 5:17-cv-02870-LHK
     individual,                          )
22                                        )   JOINT CASE MANAGEMENT STATEMENT
            Plaintiff,                    )   & NOTICE OF TENTATIVE SETTLEMENT
23                                        )
            vs.                           )   Case Management Conference
24                                        )   Date: December 13, 2017
     CABRILLO COLLEGE, a local            )   Time: 2:00 p.m.
25   educational agency; and ALEX B.      )   Dept.: Courtroom 8 – 4th Floor
     TAURKE, an individual,               )
26                                        )   Assigned to the Hon. Lucy H. Koh
            Defendants.                   )
27                                        )   Complaint filed on May 18, 2017
28
           JOINT CASE MANAGEMENT STATEMENT & NOTICE OF TENTATIVE SETTLEMENT
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 1            TO THE COURT, ALL PARTIES AND TO THEIR RESPECTIVE
 2   COUNSEL OF RECORD:
 3            Pursuant to Fed.R.Civ.Proc.26(f), Civil L.R. 16-9 and 16-10, and the
 4   Court’s Orders of May 22, 2017 and October 24, 2017, the parties, Plaintiff
 5   GABRIELLE GANGITANO (“Plaintiff”) and Defendants CABRILLO
 6   COMMUNITY COLLEGE DISTRICT (“Cabrillo College”) and ALEX B.
 7   TAURKE (“Taurke”), through their counsel of record, met and conferred and
 8   prepared the following Joint Case Management Statement.
 9            Furthermore, and most importantly, the parties went to mediation on
10   Friday, December 8, 2017, with John Bates, Esq. at JAMS in San Francisco. The
11   parties are pleased to inform the Court that they have reached a tentative
12   settlement. As to Cabrillo College, a public entity, the tentative settlement
13   requires approval by both the Board of the College and SWACC (Statewide
14   Association of Community Colleges). The next meeting of SWACC is set on
15   February 5, 2018.
16            The current Case Management Order (Dkt. 29) closes fact discovery on
17   February 9, 2018, and has opening expert reports two weeks later on February
18   23, 2018. The parties, naturally, would like to avoid the significant additional
19   costs incurred during the last two months of fact discovery and preparing expert
20   reports.
21            Accordingly, the parties respectfully request that the matter be stayed
22   pending the approval of the settlement.
23            Should the matter not be stayed, the parties address the pending issues
24   below.
25   1.       JURISDICTION AND SERVICE
26            This action is brought under Title IX of the Education Act Amendments
27   of 1972 (20 U.S.C. § 1681) and 42 U.S.C. § 1983 against Defendant Cabrillo
28   College. Plaintiff also presents state law claims for sexual assault and battery
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 1   against Defendant Taurke. Subject matter jurisdiction over this action is
 2   conferred by 28 U.S.C. § 1331 (federal question) and § 1343(3) (civil rights).
 3   Plaintiff’s state law claims for relief are within the supplemental jurisdiction of
 4   the Court pursuant to 28 U.S.C. § 1367(a).
 5            Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
 6   the wrongful conduct giving rise to this case occurred in the County of Santa
 7   Cruz, California, which is located in the Northern District of California.
 8   Plaintiff is also, and at all relevant times was, a citizen and resident of Santa
 9   Cruz County, located in the Northern District of California. Since the acts or
10   omissions which give rise to Plaintiff’s claims occurred in the County of Santa
11   Cruz, pursuant to Civil L.R. 3.2(c), this action is appropriately assigned to the
12   San Jose division of the Northern District Court.
13            No issues exist among the parties regarding personal jurisdiction or
14   venue. Defendants Cabrillo College and Taurke have filed Answers. The
15   matter is at issue.
16   2.       FACTS (Alleged by Plaintiff)
17            Plaintiff alleges in her complaint that she was sexually harassed and
18   assaulted by defendant Taurke who was her professor at Cabrillo College. In
19   May 2016, Plaintiff sought an avenue to make her complaint to Cabrillo
20   College. Plaintiff’s initial attempts to notify Cabrillo College were stymied by
21   Defendant’s inept bureaucratic labyrinth that ended with the male athletic
22   director. Frustrated, in May 2016 Plaintiff contacted the U.S. Department of
23   Education’s Office of Civil Rights (hereinafter “OCR”), which proceeded to
24   notify Cabrillo College of Plaintiff’s serious allegations against her professor.
25            Plaintiff further alleges that for seven months, until December 21, 2016,
26   Cabrillo College did nothing until it reached a resolution agreement with OCR,
27   and still has not done anything about Plaintiff’s specific complaints about
28   Taurke. Cabrillo College’s resolution agreement only promised to improve its
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 1   Title IX compliance going forward. Plaintiff alleges that Cabrillo College was
 2   deliberately indifferent towards Plaintiff during this entire period. Plaintiff
 3   alleges that Defendant never conducted an investigation itself into Plaintiff’s
 4   specific allegations concerning Taurke after being notified of her claims.
 5            Defendants Taurke and Cabrillo College dispute all claims alleged
 6   against them.
 7   3.       LEGAL ISSUES
 8            In Plaintiff’s Opposition to Cabrillo College’s Motion to Dismiss filed
 9   on July 27, 2017, Plaintiff recently agreed to dismiss her second cause of
10   action 42 U.S.C. § 1983. (See Dkt. 21.)
11            Thus, as to the remaining causes of action in Plaintiff’s complaint, the
12   legal issues involve whether Taurke sexually harassed and assaulted Plaintiff.
13   In addition, under Plaintiff’s Title IX cause of action, the legal issues involve
14   whether: (1) the institution (Cabrillo College) had “substantial control” over
15   both the harasser and the context in which the harassment occurred; (2)
16   plaintiff suffered harassment “that is so severe, pervasive, and objectively
17   offensive that it can be said to deprive the victim of access to the education
18   opportunity or benefits provided by the school;” (3) the institution had “actual
19   knowledge of the harassment;” and (4) the institution acted with “deliberate
20   indifference” to the known harassment”; and (5) this deliberate indifference
21   “cause[d] students [Plaintiff, in particular] to undergo harassment or ma[d]e
22   them liable or vulnerable to it.” Takla v. Regents of the University of
23   California, 2015 WL 6755190 (C.D. Cal. Nov. 2, 2015) (“Takla”) (citing
24   Gebster v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290-93 (1998).
25            The legal issues also involve whether Plaintiff was damaged, the nature
26   and extent of those damages, and Plaintiff’s recovery for those damages if she
27   is entitled to them.
28   ///
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 1   4.       MOTIONS
 2            On June 29, 2017, Cabrillo College filed its Motion to Dismiss
 3   Plaintiff’s causes of action under Title IX and 42 U.S.C. § 1983. (see Dkt. 16.)
 4   Cabrillo’s Motion was granted, with leave to amend. (see Dkt. 31.) Plaintiff
 5   amended her Complaint. (see Dkt. 34.) Cabrillo College filed an Answer. (see
 6   Dkt. No. 37.)
 7            Cabrillo College anticipates that it will file a Motion for Summary
 8   Judgment as well in the future, if it is not successful on its current or any
 9   subsequent Motions to Dismiss.
10   5.       AMENDMENT OF PLEADINGS
11   The parties do not anticipate at this time that any other parties, claims or
12   defenses will be added or dismissed.
13   6.       EVIDENCE PRESERVATION
14            All of the parties certify that they have reviewed the Guidelines Relating
15   to the Discovery of Electronically Stored Information (“ESI Guidelines”) and
16   confirm that they have met and conferred pursuant to Fed.R.Civ.Proc.26(f)
17   regarding reasonable and proportionate steps taken to preserve evidence
18   relevant to the issues reasonably evident in this action.
19   7.       DISCLOSURES
20            All of the parties confirm that they have complied with the exchange of
21   initial disclosures pursuant to Fed.R.Civ.Proc.26, by exchanging their
22   disclosures on or before Wednesday, August 16, 2017 with all parties (7 days
23   prior to the Case Management Conference scheduled on August 23, 2017).
24   8.       DISCOVERY
25               a. Discovery Conducted to Date
26            The parties diligently conducted significant discovery, including all
27   named parties and other witnesses. Should the case proceed, Plaintiff
28   anticipates conducting another three to four depositions, including the U.S.
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 1   Department of Education, pursuant to a Touhy request.
 2               b. Scope of Anticipated Discovery
 3            Discovery will be conducted into the liability and damage issues through
 4   written discovery (interrogatories, request for admissions, demand for
 5   productions, and inspection demands), depositions, subpoenas for records, and
 6   any other relevant discovery provided in the Fed.R.Civ.Proc. and Civil L.R.
 7               c. Proposed Limitations or Modifications to the Discovery Rules
 8            None proposed at this time. The parties agree that discovery will be
 9   conducted pursuant to the guidelines provided by the Fed.R.Civ.Proc. and
10   Civil L.R.
11               d. Stipulated E-Discovery Order
12            The parties anticipate that that a stipulated protective order will be
13   implemented in this case before the production of any sensitive/confidential
14   and or privileged documents are produced in this case. The parties will meet
15   and confer regarding the terms of the stipulated protective order, which the
16   parties hope to submit to the Court for approval prior the Case Management
17   Conference scheduled on August 23, 2017. If the parties are unable to come to
18   a complete agreement on the terms of the stipulated protective order by the
19   Case Management Conference, the parties request the Court’s assistance with
20   addressing the disputed terms at the Conference.
21               e. Proposed Discovery Plan
22            The parties were on track with completing discovery by the current
23   February 2018 deadlines. However, due to the pending settlement, the parties
24   are requesting a stay on discovery and continuance should the tentative
25   settlement not be approved by February 5, 2018.
26   9.       CLASS ACTIONS
27            Not applicable. This matter is not a class action.
28   ///
                               JOINT CASE MANAGEMENT STATEMENT
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 1   10.   RELATED CASES
 2         There are no related cases or proceedings pending before another judge
 3   of this court, or before another court or administrative body.
 4   11.   RELIEF
 5         Under Plaintiff’s Title IX cause of action against Defendant Cabrillo
 6   College, Plaintiff alleges she has suffered damages for which she is entitled to
 7   compensatory damages and injunctive relief, and because she has been
 8   compelled to employ attorneys, is entitled to attorneys’ fees pursuant to 42
 9   U.S.C. §1988(b), according to proof.
10         Under Plaintiff’s sexual assault and sexual battery claim against
11   Defendant Taurke, Plaintiff alleges that she has suffered damages for which
12   she is entitled to compensatory and punitive and exemplary damages according
13   to proof, as Plaintiff alleges that Professor Taurke carried out the
14   aforementioned acts knowing that great bodily injury and emotional distress
15   were substantially certain to be caused to Plaintiff; yet he continued to engage
16   in said despicable acts maliciously and with a conscious disregard of the rights
17   and safety of Plaintiff.
18   12.   SETTLEMENT AND ADR
19         The parties attended mediation on Friday, December 8, 2017, with John
20   Bates, Esq. at JAMS in San Francisco. The parties are pleased to inform the
21   Court that they have reached a tentative settlement.
22   13.   CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES
23         The parties do not consent to have a magistrate judge conduct all further
24   proceedings including trial and entry of judge.
25   14.   OTHER REFERENCES
26         The parties do not believe this case is suitable for reference to
27   binding arbitration, a special master, or the Judicial Panel on Multidistrict
28   Litigation.
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 1   15.    NARROWING OF ISSUES
 2          If the tentative settlement does not receive public entity approval,
 3   Cabrillo College would proceed to file a Motion for Summary Judgment.
 4   16.    EXPEDITED TRIAL PROCEDURE
 5          The parties confirm that this is not the type of case that should be
 6   handled under the Expedited Trial Procedure of General Order No. 64
 7   Attachment A.
 8   17.    SCHEDULING
 9          The parties have met and conferred and request that the current
10   deadlines be continued approximately two months and this matter stayed while
11   awaiting approval of the tentative settlement by both the Board of Cabrillo
12   College and SWACC by February 5, 2018.
13   18.    TRIAL
14          The parties preliminarily estimate a 4-6 day jury trial in this case.
15   19.    DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR
16          PERSONS
17          All of the parties who are required to file a “Certification of Interested
18   Entities or Persons” pursuant to Civil L.R. 3-15 have filed the certification,
19   with a restatement of the contents of the certification provided below:
20             a. Plaintiff
21          Pursuant to Civil L.R. 3-15, Plaintiff certified, that other than the named
22   parties, there is no such interest to report.
23             b. Cabrillo College
24          Pursuant to Civil L.R. 3-15, Cabrillo College is a governmental entity
25   and therefore, exempt from this certification requirement.
26             c. Taurke
27   Pursuant to Civil L.R. 3-15, Taurke certified that, other than the named parties,
28   there is no such interest to report.
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 1   20.   PROFESSIONAL CONDUCT
 2         All of the attorneys of record for the parties have reviewed the
 3   Guidelines for Professional Conduct for the Northern District of California,
 4   and agree to abide by its guidelines.
 5   21.   OTHER ISSUES
 6         The parties do not anticipate any other issues at this time.
 7
     Dated: December 11, 2017                        KRISTENSEN WEISBERG, LLP
 8
 9
10                                                   /s/ John P. Kristensen
11                                                   John P. Kristensen
                                                     David L. Weisberg
12
                                                     Christina M. Le
13                                                   Attorneys for Plaintiff
14
     Dated: December 11, 2017                    BERTRAND, FOX, ELLIOT,
15
                                                 OSMAN & WENZEL
16
17
                                                 By: /s/ Eugene B. Elliot
18                                                  Eugene B. Elliot
                                                    Ethan M. Lowry
19
                                                    Nicole L. Phillips
20                                                  Attorneys for Defendant
21                                                  CABRILLO COMMUNITY
                                                    COLLEGE DISTRICT
22
23   Dated: December 11, 2017                    DAVIS & YOUNG, LLP

24
25                                               By: /s/ Adam J. Davis
                                                    Adam J. Davis
26                                                  Mark E. Davis
27                                                  Attorneys for Defendant
                                                    ALEX B. TAURKE
28
                            JOINT CASE MANAGEMENT STATEMENT
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 1                           ATTORNEY ATTESTATION
 2         I hereby attest that I have on file all holograph signatures for any
 3   signatures indicated by a conformed signature (“/s/”) within this E-filed
 4   document or have been authorized by counsel for Defendants Cabrillo
 5   Community College District and Alex Taurke to show their signature on this
 6   document as /s/.
 7
     Dated: December 11, 2017                        KRISTENSEN WEISBERG, LLP
 8
 9
10                                                   /s/ John P. Kristensen
11                                                   John P. Kristensen
                                                     David L. Weisberg
12
                                                     Christina M. Le
13                                                   Attorneys for Plaintiff
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 1                            CERTIFICATE OF SERVICE

 2         I am a citizen of the United States and employed in Los Angeles County,
 3
     California. I am over the age of eighteen years and not a party to the within-
 4
 5   entitled action. My business address is Kristensen Weisberg, LLP, 12540

 6   Beatrice Street, Suite 200, Los Angeles, California 90066. The foregoing
 7
     document was served via ECF on all parties and their attorneys of record in case
 8
 9   number 5:17-cv-02870-LHK entitled GABRIELLE GANGITANO v.

10   CABRILLO COLLEGE, et al.
11
           I declare under penalty of perjury that the foregoing is true and correct.
12
13   Executed at Los Angeles, California on Monday, December 11, 2017.

14                                                 /s/ Luz Arely Portillo
15                                                 Luz Arely Portillo
16
17
18
19
20
21
22
23
24
25
26
27
28

                                CERTIFICATE OF SERVICE
